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                Exhibit 2
        (Filed Under Seal)
   CASE 0:16-cv-01054-DTS Doc. 503-1 Filed 08/26/19 Page 2 of 17




                        In the Matter Of:


             FAIR ISAAC CORPORATION
                                  vs
  FEDERAL INSURANCE COMPANYT, ET AL.


_____________________________________________


                    TAMRA PAWLOSKI
                        January 18, 2019


_____________________________________________


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                      TAMRA PAWLOSKI - 01/18/2019                     ·

 ·1· ·UNITED STATES DISTRICT COURT

 ·2· ·DISTRICT OF MINNESOTA

 ·3· ·-----------------------------------------x

 ·4· ·FAIR ISAAC CORPORATION, a Delaware
 · · ·corporation,
 ·5· · · · · · · · · Plaintiff,

 ·6· · · · · · · · · · · · Case No.· 16-cv-1054

 ·7· · · · · · · · · v.

 ·8· ·FEDERAL INSURANCE COMPANY, an
 · · ·Indiana corporation, and ACE
 ·9· ·AMERICAN INSURANCE COMPANY, a
 · · ·Pennsylvania corporation,
 10· · · · · · · · · Defendants.

 11· ·-----------------------------------------x

 12· · · · · · · · · 8:30 a.m.
 · · · · · · · · · · January 18, 2019
 13
 · · · · · · · · · · 767 Third Avenue
 14· · · · · · · · · New York, New York

 15· · · · · · · · · * CONFIDENTIAL *

 16· · · · · · DEPOSITION of TAMRA PAWLOSKI, a Plaintiff

 17· ·in the above entitled matter, pursuant to Notice,

 18· ·before Stephen J. Moore, a Registered Professional

 19· ·Reporter, Certified Realtime Reporter and Notary

 20· ·Public of the State of New York.

 21

 22· ·Job No. MP-204293


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·1· ·A P P E A R A N C E S:                               ·1· ·252· ·E-mail with attachments STRAUSS· · ·129· 14

·2                                                        ·2

·3· · · · · ·MERCHANT & GOULD, P.C.                       ·3· ·253· ·E-mail· · · · · · · · · · · · · · · 154· 10

·4· · · · · · · · · Attorneys for Plaintiff               ·4

·5· · · · · · · · · 3200 IDS Center                       ·5· ·254· ·E-mail· · · · · · · · · · · · · · · 158· ·8

·6· · · · · · · · · 80 South Eighth Street                ·6

·7· · · · · · · · · Minneapolis, Minnesota 55402-2215     ·7· ·255· ·E-mail· · · · · · · · · · · · · · · 160· 12

·8                                                        ·8

·9· · · · · ·BY:· · HEATHER KLIEBENSTEIN, ESQ.            ·9· ·256· ·E-mail· · · · · · · · · · · · · · · 163· 19

10                                                        10

11· · · · · ·FREDRIKSON & BYRON, P.A.                     11· ·257· ·Letter from Mike Sawyer to· · · · · 168· 12

12· · · · · · · · · Attorneys for Defendants              12· · · · ·Tamra Pawlowski

13· · · · · · · · · 200 South Sixth Street                13

14· · · · · · · · · Minneapolis, Minnesota 55402-1425     14· ·258· ·E-mail· · · · · · · · · · · · · · · 174· ·8

15                                                        15

16· · · · · ·BY:· · TERRENCE J. FLEMING, ESQ.             16· ·259· ·Letter (attachment to Exhibit· · · ·174· ·8

17· · · · · · · · · tfleming@fredlaw.com                  17· · · · ·258)

18                                                        18

19· ·ALSO PRESENT:                                        19· ·260· ·E-mail· · · · · · · · · · · · · · · 182· ·5

20· · · · · ·JAMES WOODWARD, ESQ.                         20

21· · · · · · · · · FICO                                  21· ·261· ·E-mail with attachments· · · · · · ·185· ·5

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·1· ·EXAMINATION BY· · · · · · · · · · · · · PAGE         ·1· ·262· ·E-mail with attachments· · · · · · ·194· ·8

·2· ·MS. KLIEBENSTEIN· · · · · · · · · · · · · · · · 7    ·2

·3· ·MR. FLEMING· · · · · · · · · · · · · · · · · ·233    ·3· ·263· ·E-mail· · · · · · · · · · · · · · · 196· ·9

·4· ·MS. KLIEBENSTEIN - Continued· · · · · · · · · 236    ·4

·5· · · · · · · · · E X H I B I T S                       ·5· ·264· ·E-mail· · · · · · · · · · · · · · · 202· ·1

·6· ·237· ·E-mail with attachment· · · · · · · ·31· ·3    ·6

·7· ·238· ·E-mail dated June 26, 2013· · · · · ·40· 11    ·7· ·265· ·E-mail· · · · · · · · · · · · · · · 203· ·9

·8· ·239· ·E-mail and attachment· · · · · · · · 44· 15    ·8

·9· ·241· ·E-mail· · · · · · · · · · · · · · · ·48· 14    ·9· ·266· ·E-mail with attachment· · · · · · · 205· 16

10· ·240· ·E-mail· · · · · · · · · · · · · · · ·50· ·9    10

11· ·242· ·E-mail· · · · · · · · · · · · · · · ·52· ·9    11· ·267· ·E-mail· · · · · · · · · · · · · · · 208· 13

12· ·243· ·E-mail string from 2008· · · · · · · 59· 13    12

13· ·244· ·E-mail· · · · · · · · · · · · · · · ·60· 19    13· ·268· ·E-mail· · · · · · · · · · · · · · · 215· ·7

14· ·245· ·E-mail dated February 7, 2011,· · · ·74· 12    14

15· ·246· ·E-mail· · · · · · · · · · · · · · · ·78· 10    15· ·269· ·E-mail· · · · · · · · · · · · · · · 220· ·9

16· ·247· ·E-mail string· · · · · · · · · · · · 88· ·5    16

17· ·248· ·E-mail and attachment· · · · · · · ·100· 13    17· ·270· ·E-mail· · · · · · · · · · · · · · · 222· ·5

18· ·249· ·Calendar notice and attachments· · ·111· 19    18

19· ·250· ·Email· · · · · · · · · · · · · · · ·120· ·9    19

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                                                   Page 6                                                  Page 8
·1· · · · · THE VIDEOGRAPHER:· This is the                  ·1· · · · · · · · · What I'll be doing is asking you
·2· ·start of media labeled number 1 of the                 ·2· ·questions throughout the day and you'll be
·3· ·video recorded deposition of Tamra                     ·3· ·answering.
·4· ·Pawloski in the matter Fair Isaac                      ·4· · · · · · · · · If there is anything that you
·5· ·Corporation versus Federal Insurance                   ·5· ·don't understand, feel free to ask me to
·6· ·Company and ACE American Insurance                     ·6· ·clarify.
·7· ·Company in the United States District                  ·7· · · · · · · · · Your counsel may object from
·8· ·Court, District of Minnesota.                          ·8· ·time to time, and unless he instructs you not
·9· · · · · Today is January 18, 2019, the time             ·9· ·to answer, you are to go ahead and answer.
10· ·is 8:43 a.m., and we are located at 767                10· · · · · · · · · The court reporter does best
11· ·Third Avenue, New York, New York.                      11· ·when we don't talk over each other, when we
12· · · · · My name is Rodolfo Duran.· I am the             12· ·talk one at a time, and when we give verbal
13· ·legal video specialist, the court reporter             13· ·answers instead of nonverbal cues, such as head
14· ·is Stephen Moore, and we are both in                   14· ·nods and the like.
15· ·association with Epiq.                                 15· · · · · · · · · Do you have any questions before
16· · · · · Will counsel please introduce                   16· ·we start?
17· ·themselves.                                            17· · · · · ·A· · · No.
18· · · · · MS. KLIEBENSTEIN:· Heather                      18· · · · · ·Q· · · All right, here we go.
19· ·Kliebenstein from Merchant & Gould on                  19· · · · · · · · · Ms. Pawloski, where do you work
20· ·behalf of the Plaintiff, and with me is                20· ·today?
21· ·Jim Woodward of FICO.                                  21· · · · · ·A· · · I work for AIG.
22· · · · · MR. FLEMING:· Terry Fleming of                  22· · · · · ·Q· · · What do you do for AIG?

                                                   Page 7                                                  Page 9
·1· · · · · ·the Frederikson & Byron firm                   ·1· · · · · ·A· · · I am their IT asset manager.
·2· · · · · ·representing Defendants.                       ·2· · · · · ·Q· · · How long have you been the IT
·3· · · · · · · · · THE VIDEOGRAPHER:· Will the court       ·3· ·asset manager of AIG?
·4· · · · · ·reporter please swear in the witness.          ·4· · · · · ·A· · · Ten months.
·5                                                          ·5· · · · · ·Q· · · What are your job duties as the
·6· ·T A M R A· · · · · P A W L O S K I,· · ·called as      ·6· ·IT manager at AIG?
·7· · · · · ·a witness, having been first duly sworn by     ·7· · · · · ·A· · · So, I have global responsibility
·8· · · · · ·the Notary Public, was examined and            ·8· ·for all IT, software and hardware assets.
·9· · · · · ·testified as follows:                          ·9· · · · · ·Q· · · Global responsibility for what?
10                                                          10· ·What about the hardware and IT assets?
11· ·EXAMINATION BY                                         11· · · · · ·A· · · Tracking and monitoring.
12· ·MS. KLIEBENSTEIN:                                      12· · · · · ·Q· · · Does that work involve dealing
13                                                          13· ·with vendors?
14· · · · · ·Q· · · Good morning, Ms. Pawloski.             14· · · · · ·A· · · Yes.
15· · · · · ·A· · · Good morning.                           15· · · · · ·Q· · · In what way?
16· · · · · ·Q· · · Have you ever been deposed              16· · · · · ·A· · · Understanding their
17· ·before?                                                17· ·entitlements, working with them in case -- in
18· · · · · ·A· · · Yes.                                    18· ·case of a compliance, doing negotiations with
19· · · · · ·Q· · · How many times?                         19· ·them, et cetera.
20· · · · · ·A· · · Just once.                              20· · · · · ·Q· · · You used the word entitlement,
21· · · · · ·Q· · · So, you've been through this            21· ·what did you mean by that?
22· ·before.                                                22· · · · · ·A· · · So, in a contract there are


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                                                 Page 86                                                    Page 88
·1· · · · · ·Q· · · And that -- what was that              ·1· ·U.K.
·2· ·example, what was the name of that?                   ·2· · · · · · · · · MS. KLIEBENSTEIN:· I am handing
·3· · · · · ·A· · · Metastorm, it was a workflow           ·3· · · · · ·you what's been marked as Exhibit 247.
·4· ·tool.                                                 ·4· · · · · · · · · (The above described document was
·5· · · · · ·Q· · · Was there any rule of thumb as         ·5· · · · · ·marked Exhibit 247 for identification as
·6· ·to when -- taking Europe, for example, was            ·6· · · · · ·of this date.)
·7· ·there any general rule of thumb as to when the        ·7· · · · · ·Q· · · Are you familiar with this
·8· ·European IT group would install a software --         ·8· ·e-mail string?
·9· ·install a piece of software on a European             ·9· · · · · ·A· · · Yes.
10· ·software versus the U.S. server?                      10· · · · · ·Q· · · In the bottom Peter Davis on
11· · · · · · · · · MR. FLEMING:· Objection,               11· ·September 28, 2012 wrote to you, "EZ are
12· · · · · ·foundation.                                   12· ·looking at possibly using FICO Blaze Advisor
13· · · · · ·A· · · I'm sure there was, but I don't        13· ·for a project next year and are questioning the
14· ·know it, I was not made aware of what that            14· ·license we have.
15· ·criteria would be.                                    15· · · · · · · · · "I know we are unlimited
16· · · · · ·Q· · · So you were just mentioning            16· ·enterprise use, but wanted to check with you
17· ·Metastorm?                                            17· ·that there are no geographic restrictions.· Is
18· · · · · ·A· · · Metastorm.                             18· ·our Blaze enterprise license for global use?"
19· · · · · ·Q· · · Metastorm, and you mentioned           19· · · · · · · · · Do you recall answering Peter's
20· ·when individuals outside the United States            20· ·question?
21· ·would use it, it would be slow and clunky?            21· · · · · ·A· · · I did not, I delegated it.
22· · · · · ·A· · · Yes.                                   22· · · · · ·Q· · · And you delegate it to whom?

                                                 Page 87                                                    Page 89
·1· · · · · ·Q· · · Why was that?                          ·1· · · · · ·A· · · Bob Schmidt.
·2· · · · · · · · · MR. FLEMING:· Objection,               ·2· · · · · ·Q· · · Who is that?
·3· · · · · ·foundation.                                   ·3· · · · · ·A· · · He was one of my team members
·4· · · · · ·A· · · So from a nontechnical response,       ·4· ·who is now responsible for software.
·5· ·it's because you had -- it had to go across the       ·5· · · · · ·Q· · · Do you know if Bob Schmidt
·6· ·pond, so because it wasn't direct right there,        ·6· ·responded to his question?
·7· ·there was access bandwidth, what they called          ·7· · · · · ·A· · · I would hope he did.· I would
·8· ·bandwidth issues.                                     ·8· ·hope he did, I don't know.
·9· · · · · ·Q· · · And why was -- was Metastorm           ·9· · · · · ·Q· · · And I note that in Pete's e-mail
10· ·only -- was Metastorm only installed in the           10· ·he says that we are unlimited enterprise use.
11· ·United States.                                        11· · · · · · · · · What did that phrase mean to
12· · · · · · · · · I'm sorry, that was a bad              12· ·you?
13· ·question, was the Metastorm software tool only        13· · · · · ·A· · · That we had unlimited rights,
14· ·installed on a United States server?                  14· ·enterprise rights.
15· · · · · · · · · MR. FLEMING:· Objection,               15· · · · · ·Q· · · And do you know where Peter
16· · · · · ·foundation.                                   16· ·would have gotten the information that the
17· · · · · ·A· · · Initially, yes, and then we            17· ·Blaze Advisor software license was for
18· ·expanded it.                                          18· ·unlimited enterprise use?
19· · · · · ·Q· · · And you expanded it in what way?       19· · · · · ·A· · · I'm going to assume that it was
20· · · · · ·A· · · I believe that they -- so they         20· ·based upon feedback that he had received from
21· ·went to the U.K. and actually because of the          21· ·either myself or the contract itself.
22· ·fact that it was slow, we did put it in the           22· · · · · · · · · MR. FLEMING:· Tamra, she's asking


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                                                 Page 90                                                 Page 92
·1· · · · · ·what you know, not your assumptions, not      ·1· · · · · ·Q· · · And that was the amendment that
·2· · · · · ·your guessing.                                ·2· ·was e-mailed to you?
·3· · · · · · · · · THE WITNESS:· Okay.                    ·3· · · · · ·A· · · Correct.
·4· · · · · ·A· · · Then I don't know.                     ·4· · · · · ·Q· · · Did you review the amendment at
·5· · · · · ·Q· · · Let's pull out 241 and 242.· We        ·5· ·that time?
·6· ·will finish up this line.                             ·6· · · · · ·A· · · I did.
·7· · · · · · · · · 241 an e-mail from -- e-mail           ·7· · · · · ·Q· · · After reviewing that amendment,
·8· ·chain in June of 2008, correct?                       ·8· ·did your opinion on the scope of the license
·9· · · · · ·A· · · Yes.                                   ·9· ·change?
10· · · · · ·Q· · · And in it you stated that the          10· · · · · ·A· · · Yes.
11· ·current license to Blaze advisors is not              11· · · · · ·Q· · · In what way?
12· ·worldwide, correct?                                   12· · · · · ·A· · · In reading this summary alone it
13· · · · · ·A· · · I did.                                 13· ·states that from Jim Black, who actually did
14· · · · · ·Q· · · And you also stated that the           14· ·the negotiation of the contract, that it was a
15· ·limitations were five seats used solely in            15· ·minimum two upgrades CSI divisional license to
16· ·conjunction with the named application,               16· ·a worldwide enterprise license, and then if you
17· ·correct?                                              17· ·go through to the actual amendment itself, it
18· · · · · · · · · MR. FLEMING:· This has been asked      18· ·actually states under scope and quantity, on
19· · · · · ·and answered.· I object on that basis.        19· ·page 1 of 3 of amendment number 2, the
20· · · · · ·A· · · Yes.                                   20· ·enterprise-wide.
21· · · · · ·Q· · · Am I understanding you correct         21· · · · · ·Q· · · Can you point me to where you
22· ·that after you sent this e-mail, Mark                 22· ·were looking at?

                                                 Page 91                                                    Page 93
·1· ·Bartholemew --                                        ·1· · · · · ·A· · · Right here.
·2· · · · · ·A· · · Berthume.                              ·2· · · · · ·Q· · · Looking in the table?
·3· · · · · ·Q· · · --· Berthume, reached out to           ·3· · · · · ·A· · · Yes, in the table.
·4· ·you?                                                  ·4· · · · · ·Q· · · Under where it says, "scope,
·5· · · · · ·A· · · Yes.                                   ·5· ·quantity?"
·6· · · · · · · · · MR. FLEMING:· Objection, asked         ·6· · · · · ·A· · · Yes, section 1.
·7· · · · · ·and answered.· You've asked these             ·7· · · · · ·Q· · · And so enterprise-wide, to you
·8· · · · · ·identical questions.                          ·8· ·meant that Blaze Advisor could be used globally
·9· · · · · ·Q· · · And can you tell me when that          ·9· ·by anyone, correct?
10· ·phone call occurred?                                  10· · · · · · · · · MR. FLEMING:· Objection, same
11· · · · · ·A· · · I can't tell you exactly when.         11· · · · · ·question has been asked and answered.
12· · · · · ·Q· · · Was it months after this e-mail,       12· · · · · ·A· · · Yes.
13· ·years?                                                13· · · · · ·Q· · · The word anyone, who would that
14· · · · · ·A· · · Days, days.                            14· ·include?
15· · · · · ·Q· · · What did Mark say to you?              15· · · · · ·A· · · The corporation, so the use
16· · · · · · · · · MR. FLEMING:· Objection, that's        16· ·within the corporation.
17· · · · · ·been asked and answered.                      17· · · · · ·Q· · · The corporation being whom?
18· · · · · ·A· · · Mark stated that we had an             18· · · · · ·A· · · All of the employees.
19· ·amendment and then sent me the amendment.             19· · · · · ·Q· · · All of the employees of whom?
20· · · · · ·Q· · · And is that amendment an               20· · · · · ·A· · · Chubb & Son, a division of
21· ·attachment to Exhibit 242?                            21· ·Federal.
22· · · · · ·A· · · It is.                                 22· · · · · ·Q· · · All of the employees of Chubb &


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                                                 Page 94                                                    Page 96
·1· ·Son, a division of Federal?                           ·1· ·license was enterprise-wide with no
·2· · · · · ·A· · · Wasn't there a -- is this the          ·2· ·restrictions?
·3· ·full amendment number 2?                              ·3· · · · · ·A· · · He negotiated the deal.
·4· · · · · · · · · Because it's one of an -- I see        ·4· · · · · ·Q· · · So his information didn't come
·5· ·3 of 3, I don't have 2 of 3 in my copy.               ·5· ·from Chubb's legal department?
·6· · · · · · · · · MR. FLEMING:· I think the pages        ·6· · · · · ·A· · · No.
·7· · · · · ·are mispaginated.                             ·7· · · · · ·Q· · · When you were talking with Mark,
·8· · · · · · · · · THE WITNESS:· Are they?                ·8· ·was your conversation limited to the topic of
·9· · · · · ·Q· · · They are there, it starts with         ·9· ·use of the software?
10· ·2, 1 and 3.                                           10· · · · · ·A· · · It was around the negotiations.
11· · · · · ·A· · · Oh, okay.                              11· · · · · ·Q· · · Did you discuss at all the
12· · · · · ·A· · · And then it also says the              12· ·issue -- well, let me phrase it again a
13· ·affiliates, right, "Affiliates shall mean any         13· ·different way.
14· ·entity directly or indirectly controlled by           14· · · · · · · · · Your conversation with Mark was
15· ·client, control means the ownership of more           15· ·about the use of the software, not the physical
16· ·than 50 percent."                                     16· ·location of the software, correct?
17· · · · · · · · · That's traditionally in all of         17· · · · · ·A· · · Correct.
18· ·our contracts, so that's why I couldn't find it       18· · · · · ·Q· · · And did you talk with Mark at
19· ·before.                                               19· ·all in that phone conversation about any
20· · · · · ·Q· · · And the client was Chubb & Son,        20· ·restrictions about the physical location of
21· ·a division of Federal, correct?                       21· ·the --
22· · · · · ·A· · · Yes.                                   22· · · · · · · · · MS. KLIEBENSTEIN:· I apologize,

                                              Page 95                                                       Page 97
·1· · · · · ·Q· · · Who were the affiliates of Chubb  ·1· · · · · ·scratch that.
·2· ·& Son?                                                ·2· · · · · ·Q· · · In your conversation with Mark,
·3· · · · · ·A· · · All of the other entities that         ·3· ·did you talk at all about the installation and
·4· ·sat underneath Chubb & Son, a division of             ·4· ·physical location of Blaze Advisor as opposed
·5· ·Federal, I'm not exactly sure what all -- who         ·5· ·to the use?
·6· ·all of them were.                                     ·6· · · · · ·A· · · No, it was just -- it was an
·7· · · · · ·Q· · · A corporate org chart would tell       ·7· ·enterprise-wide license.
·8· ·us who the affiliates of Chubb & Sons were?           ·8· · · · · ·Q· · · Did you have any role in the
·9· · · · · ·A· · · I believe so; yes.                     ·9· ·process of merging ACE and Chubb?
10· · · · · ·Q· · · Now, at this time when you             10· · · · · · · · · MR. FLEMING:· You are talking
11· ·reviewed this second amendment after the call         11· · · · · ·about negotiating that transaction?
12· ·with Mark, did you also go look at the original       12· · · · · ·A· · · Yeah, I'm sorry, I don't know
13· ·license in conjunction with the amendment?            13· ·what you're asking.
14· · · · · ·A· · · No.                                    14· · · · · ·Q· · · Well, I can skip to the more --
15· · · · · ·Q· · · And why not?                           15· ·what I'm looking for is just a general
16· · · · · ·A· · · Because Mark was pretty clear          16· ·understanding of your role in the process of
17· ·that there was an enterprise-wide contract.           17· ·merging ACE and Chubb.
18· · · · · ·Q· · · What was Mark's position again?        18· · · · · · · · · That can be negotiation of a
19· · · · · ·A· · · He was CIO of our Chubb                19· ·part, something else, you tell me?
20· ·specialty insurance.                                  20· · · · · · · · · MR. FLEMING:· You are beginning a
21· · · · · ·Q· · · Did Mark tell you where he had         21· · · · · ·few topic, after these questions can we
22· ·gotten the information that the Blaze Advisor         22· · · · · ·take a five minute break?


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                                               Page 138                                                  Page 140
·1· ·North America -- North American contract.            ·1· · · · · ·foundation.
·2· · · · · · · · · I don't know the difference           ·2· · · · · ·A· · · I'm sorry, where do you mean why
·3· ·between what or his intent of this, because          ·3· ·it's not listed?
·4· ·there was really their priority list on what         ·4· · · · · ·Q· · · In row 4, under the column type
·5· ·they were going to do.                               ·5· ·of document, it says MSA, it doesn't say
·6· · · · · ·Q· · · So, the column enterprise/region      ·6· ·license agreement.
·7· ·you believe could refer to where the vendor          ·7· · · · · ·A· · · I think I'm looking at the wrong
·8· ·contract was executed?                               ·8· ·tab.· I'm looking at -- I'm in -- hold on.· I'm
·9· · · · · · · · · Is that, am I understanding that      ·9· ·in the wrong section, I'm in tab 1.· I'm sorry.
10· ·correctly?                                           10· · · · · · · · · MR. FLEMING:· My objection is
11· · · · · ·A· · · No, it would be who the               11· · · · · ·lack of foundation.
12· ·individual was who was going to be working it.       12· · · · · ·A· · · Okay, I found it.
13· · · · · · · · · Was it the global person, was it      13· · · · · · · · · No, I didn't.· This is tab 1,
14· ·the North America person, was it the European        14· ·right?· Am I missing something?
15· ·person or was it the Asia Pac contracts              15· · · · · ·Q· · · I will hand you this one, if you
16· ·manager.                                             16· ·want to just look at this one.
17· · · · · ·Q· · · So you had contract managers          17· · · · · ·A· · · I have to look at tab 2, okay.
18· ·with each region and a global contracts              18· · · · · ·Q· · · So --
19· ·manager?                                             19· · · · · ·A· · · Oh, this is the one I did have
20· · · · · ·A· · · That was Dennis, yes.                 20· ·out, right?
21· · · · · ·Q· · · All right, I think -- actually        21· · · · · · · · · So tab 2, North American
22· ·one more question on this.                           22· ·consolidation, okay.· So if you go down to the

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·1· · · · · · · · · Keep on the second tab and go to  ·1· ·top line, correct, but if you go down four from
·2· ·the page that mentions Fair Isaac.· I will see       ·2· ·that, right, in that same column it says Blaze
·3· ·if I can find it, too.                               ·3· ·Advisor software MSA.
·4· · · · · · · · · Let me know when you are there.       ·4· · · · · · · · · So, I'm sorry, that's why it
·5· · · · · ·A· · · I am here.                            ·5· ·confused me.
·6· · · · · · · · · MR. FLEMING:· Under tab 2?            ·6· · · · · ·Q· · · And my question was MSA refers
·7· · · · · · · · · MS. KLIEBENSTEIN:· That's             ·7· ·to the master services agreement, correct?
·8· · · · · ·correct.                                     ·8· · · · · ·A· · · I said master services or master
·9· · · · · ·Q· · · It starts, the mention of Fair        ·9· ·software agreement, both.
10· ·Isaac starts four rows down, correct?                10· · · · · ·Q· · · So the master software agreement
11· · · · · ·A· · · Yes.                                  11· ·could be the license agreement?
12· · · · · ·Q· · · And in the column under type of       12· · · · · ·A· · · It could be, absolutely.· In the
13· ·document it says MSA.· Do you see that?              13· ·system it just said, you only had one
14· · · · · ·A· · · Yes.                                  14· ·allocation for it.
15· · · · · ·Q· · · What does MSA refer to, if you        15· · · · · · · · · MS. KLIEBENSTEIN:· I think that
16· ·know?                                                16· · · · · ·we can break for lunch.
17· · · · · ·A· · · Master services agreement, and        17· · · · · · · · · THE VIDEOGRAPHER:· The time is
18· ·master software agreement, they use that             18· · · · · ·12:12 p.m.· We are going off the record.
19· ·interchangeably.                                     19· · · · · · · · · (At this point in the proceedings
20· · · · · ·Q· · · Why is the license not listed         20· · · · · ·there was a luncheon recess, after which
21· ·there instead?                                       21· · · · · ·the deposition continued as follows:)
22· · · · · · · · · MR. FLEMING:· Objection,              22· · · · · · · · · THE VIDEOGRAPHER:· This is the


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·1· · · · · ·start of media labeled number 4.· The      ·1· · · · · · · · · One is we had a request for
·2· · · · · ·time is now 1:06 p.m. and we are back on   ·2· ·additional product, and the other request was
·3· · · · · ·the record.                                ·3· ·that we were not within our license rights from
·4                                                      ·4· ·FICO.
·5· ·CONTINUED EXAMINATION BY                           ·5· · · · · ·Q· · · And with respect to the issue
·6· ·MS. KLIEBENSTEIN:                                  ·6· ·that Chubb was not within its license rights,
·7                                                      ·7· ·are you referring to the license granted in
·8· · · · · ·Q· · · Good afternoon, Ms. Pawloski.       ·8· ·Exhibit 240 and its addendums?
·9· · · · · · · · · I presume you are familiar with     ·9· · · · · ·A· · · Correct.
10· ·the lawsuit that we are here over today,           10· · · · · ·Q· · · Did you have any discussion
11· ·correct?                                           11· ·about the scope of that license with anyone
12· · · · · ·A· · · I am.                               12· ·from FICO?
13· · · · · ·Q· · · And it's my understanding that      13· · · · · ·A· · · Yes.
14· ·the parties tried to negotiate to work out         14· · · · · · · · · MR. FLEMING:· Okay, go ahead.
15· ·their disagreements starting in the beginning      15· · · · · ·Q· · · In those discussions with FICO,
16· ·of 2016.                                           16· ·did you ever say -- did you ever provide them
17· · · · · · · · · Does that sound about right to      17· ·your position on whether or not Chubb was
18· ·you?                                               18· ·within its license rights?
19· · · · · ·A· · · That's right.                       19· · · · · ·A· · · I don't recall giving a
20· · · · · ·Q· · · What was your role in those         20· ·position.
21· ·discussions?                                       21· · · · · · · · · I know we talked about what the
22· · · · · ·A· · · I had the initial discussions       22· ·contract stated, and even had the agreement

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·1· ·with the sales team from FICO, as well as        ·1· ·out.
·2· ·follow-up role with my senior leadership           ·2· · · · · ·Q· · · The issue with respect to the
·3· ·throughout the discussions in what I'll call       ·3· ·license rights, again thinking about your
·4· ·negotiations.                                      ·4· ·conversations with FICO, the issue was the
·5· · · · · ·Q· · · And going back to that, I'm         ·5· ·problem was triggered by the merger between ACE
·6· ·sorry, when did those discussions that you were    ·6· ·and Chubb, isn't that right?
·7· ·having with FICO start?                            ·7· · · · · ·A· · · That's right.
·8· · · · · ·A· · · I want to say March of 2016, but    ·8· · · · · ·Q· · · What was your understanding of
·9· ·I can't remember the exact -- it was the           ·9· ·FICO's position about compliance with license
10· ·beginning of 2016.                                 10· ·rights after the merger?
11· · · · · ·Q· · · And what was your understanding     11· · · · · · · · · MR. FLEMING:· Just to be clear,
12· ·of the problem at a basic level?                   12· · · · · ·you're asking based on what she heard
13· · · · · ·A· · · At first I wasn't quite sure,       13· · · · · ·from FICO?
14· ·but then --                                        14· · · · · · · · · MS. KLIEBENSTEIN:· Exactly.
15· · · · · · · · · MR. FLEMING:· I'm going to object   15· · · · · ·A· · · So, what my understanding from
16· · · · · ·to the extent that your answer requires    16· ·FICO was, that because of the merger, ACE now
17· · · · · ·you to discuss any attorney-client         17· ·could use the license and so therefore we
18· · · · · ·communications, and to that extent you     18· ·should pay for that.
19· · · · · ·should not respond.                        19· · · · · ·Q· · · Would you pull up Exhibit 240.
20· · · · · ·A· · · So my recollection was that FICO    20· · · · · · · · · Is this the contract that you
21· ·was looking to increase our usage, so we had       21· ·walked through with the FICO people?
22· ·two things going on.                               22· · · · · ·A· · · And 241, or 242, I'm sorry.


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·1· · · · · ·Q· · · Did you talk with the FICO            ·1· ·there, so this went to legal.
·2· ·people during one conversation or many               ·2· · · · · ·Q· · · Do you have any -- do you know
·3· ·conversations about the contract terms?              ·3· ·of any documents that would show the GSS group
·4· · · · · ·A· · · It was a few, it was a couple,        ·4· ·read Exhibit 240, and in particular, section
·5· ·actually, yeah.                                      ·5· ·10.8?
·6· · · · · ·Q· · · Let's turn to section 10.8 of         ·6· · · · · ·A· · · Not that I can recall.
·7· ·Exhibit 240.                                         ·7· · · · · ·Q· · · Would there be any mention of
·8· · · · · · · · · Was this one of the sections          ·8· ·this agreement on a spreadsheet that GSS
·9· ·that you discussed with the FICO people?             ·9· ·maintained?
10· · · · · ·A· · · This was one of the sections          10· · · · · ·A· · · Yes, there were several mentions
11· ·that the FICO people did look at and asked us        11· ·of it, even on some of the spreadsheets that we
12· ·to review, yes.                                      12· ·looked at, right?
13· · · · · ·Q· · · Did you understand the FICO           13· · · · · · · · · MR. FLEMING:· You are referencing
14· ·position to be that because a merger had             14· · · · · ·the spreadsheets you looked at today?
15· ·happened, there was a change of control at the       15· · · · · · · · · THE WITNESS:· Today, yes.
16· ·"client"?                                            16· · · · · ·Q· · · Could you identify one of those
17· · · · · ·A· · · That was their position.              17· ·for me?
18· · · · · ·Q· · · And what was your response to         18· · · · · ·A· · · Sure.· So, 248 had --
19· ·that position in those FICO meetings?                19· · · · · ·Q· · · 248 had what?
20· · · · · ·A· · · At that point we were discussing      20· · · · · ·A· · · Had FICO's name in it.
21· ·utilization.· We didn't -- I didn't touch that,      21· · · · · ·Q· · · Correct, but does 248 show that
22· ·that's a legal term, so I was more on the            22· ·the GSS group read section 10.8 of Exhibit 240?

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·1· ·business side for the business requirements.     ·1· · · · · ·A· · · No.· What I stated was that we
·2· · · · · · · · · I didn't touch the assignment,        ·2· ·said it was included in the contract, not that
·3· ·control, any of that.· So we were talking about      ·3· ·we read it, or that, just that it was there and
·4· ·the use of the license from a compliance             ·4· ·that it was handed over and that's on this list
·5· ·perspective.                                         ·5· ·here, that we provided to our general counsel,
·6· · · · · ·Q· · · So your position is that you          ·6· ·Maureen.
·7· ·personally did not have any conversations with       ·7· · · · · ·Q· · · The list in Exhibit 248 is a
·8· ·FICO personnel about whether a change of             ·8· ·list --
·9· ·control happened with the "client?"                  ·9· · · · · · · · · MS. KLIEBENSTEIN:· Strike that.
10· · · · · ·A· · · Not -- no, not with the -- the        10· · · · · ·Q· · · My understanding of Exhibit 248
11· ·only time that we had those discussions was          11· ·is that its attachment is a list of vendors who
12· ·with legal.                                          12· ·had contracts in the Novatus system, correct?
13· · · · · ·Q· · · Was that internal at the new          13· · · · · ·A· · · Yes.
14· ·Chubb entity with your lawyers?                      14· · · · · ·Q· · · But then the GSS group went back
15· · · · · ·A· · · Once, with the lawyers, that was      15· ·and reviewed those contracts to determine which
16· ·correct.                                             16· ·did and did not have change of control --
17· · · · · ·Q· · · Do you know one way or the other      17· · · · · ·A· · · Yes.
18· ·if the GSS group reviewed section 10.8 in their      18· · · · · ·Q· · · -- termination provisions,
19· ·work reviewing contracts during due diligence?       19· ·correct?
20· · · · · ·A· · · Yes.                                  20· · · · · ·A· · · Correct.
21· · · · · ·Q· · · Yes, they did review 10.8?            21· · · · · ·Q· · · How do I know that GSS read this
22· · · · · ·A· · · They knew it was -- it was in         22· ·specific agreement?


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·1· · · · · ·Q· · · So you did have conversations          ·1· · · · · · · · · He did not provide that on the
·2· ·about the pricing methodology used by FICO,           ·2· ·phone.
·3· ·just after this March 2nd letter?                     ·3· · · · · ·Q· · · Do you recall anything else that
·4· · · · · ·A· · · Correct.                               ·4· ·was discussed in that phone call?
·5· · · · · ·Q· · · I am handing you what I have           ·5· · · · · ·A· · · No, I was not lead on the call.
·6· ·marked Exhibits 258 and 259.                          ·6· · · · · ·Q· · · You mentioned the name Bill
·7· · · · · · · · · (The above described documents were    ·7· ·Harlan?
·8· · · · · ·marked Exhibits 258 and 259 for               ·8· · · · · ·A· · · Harlam.
·9· · · · · ·identification as of this date.)              ·9· · · · · ·Q· · · Who was he?
10· · · · · ·Q· · · Are you familiar with these            10· · · · · ·A· · · He was my new boss.
11· ·documents?                                            11· · · · · ·Q· · · And your old boss was?
12· · · · · ·A· · · Yes.                                   12· · · · · ·A· · · Bill Stickle.
13· · · · · ·Q· · · So 259 is a second copy of page        13· · · · · ·Q· · · Bill Stickle.· Did Bill Harlam
14· ·2 of 258, because you can't really read.              14· ·come from legacy ACE?
15· · · · · · · · · You only got one page of 258?          15· · · · · ·A· · · Yes, he did.
16· · · · · ·A· · · Yes.                                   16· · · · · ·Q· · · What was Bill Harlem's role at
17· · · · · · · · · MS. KLIEBENSTEIN:· Then together       17· ·Chubb LTD?
18· · · · · ·we have a complete document.                  18· · · · · ·A· · · He was the head of vendor
19· · · · · ·Q· · · Looking at 258 and 259, is             19· ·management.
20· ·Exhibit 259 the letter that was e-mailed to you       20· · · · · ·Q· · · So, did the vendor management,
21· ·from Mike Sawyer on March 6, 2016?                    21· ·after the merger did the vendor management
22· · · · · ·A· · · Yes, it was.                           22· ·functions of ACE and Chubb merge together as a

                                             Page 175                                                    Page 177
·1· · · · · ·Q· · · And this is four days after the   ·1· ·group?
·2· ·date of the letter we looked at in 257, is that       ·2· · · · · ·A· · · Yes.
·3· ·correct?                                              ·3· · · · · ·Q· · · And some people stayed and some
·4· · · · · ·A· · · That's correct.                        ·4· ·people went?
·5· · · · · ·Q· · · So between March 2nd and March         ·5· · · · · ·A· · · That's correct.
·6· ·6th, did you have any conversations with FICO         ·6· · · · · ·Q· · · So looking at the letter that is
·7· ·personnel about the business negotiations?            ·7· ·Exhibit 259, walk me through your understanding
·8· · · · · ·A· · · Yes.                                   ·8· ·of the pricing options and the license options
·9· · · · · ·Q· · · And what were those                    ·9· ·provided by FICO to you.
10· ·conversations?                                        10· · · · · ·A· · · So the intent of this letter was
11· · · · · ·A· · · Actually at this point it got          11· ·to show us from legacy Chubb pricing to the new
12· ·escalated to my leadership.                           12· ·Chubb LTD pricing.
13· · · · · · · · · So Bill Harlam and myself had a        13· · · · · · · · · And this was the first time for
14· ·discussion with Bill Waid on the numbers to           14· ·myself that I knew it was based upon revenue.
15· ·help us understand why, we were very confused         15· ·I was not aware of that prior to this.
16· ·as why they came in so high, so we had a phone        16· · · · · · · · · So this is just -- this letter
17· ·call with Bill.                                       17· ·now outlines what the legacy Chubb revenue was
18· · · · · ·Q· · · What did Bill tell you, what do        18· ·in 2006 -- yeah, 2006.
19· ·you recall?                                           19· · · · · · · · · And then what the 2016 combined
20· · · · · ·A· · · That he was going to come back         20· ·company revenues were, and then how Blaze
21· ·and give us an explanation for how they came to       21· ·was -- how the equation, how FICO priced their
22· ·the numbers.                                          22· ·product.


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·1· · · · · ·Q· · · And you understood at this time      ·1· · · · · ·her prior testimony, and it's multiple
·2· ·that the pricing you were seeing was based on       ·2· · · · · ·questions.
·3· ·the estimated U.S. revenue of the new company,      ·3· · · · · ·A· · · Can you repeat that again?
·4· ·correct?                                            ·4· · · · · ·Q· · · Sure, I will try.
·5· · · · · ·A· · · Correct.                             ·5· · · · · · · · · Chubb rejected this offer in
·6· · · · · ·Q· · · Not that you agreed with the         ·6· ·Exhibit 259, correct?
·7· ·pricing, just that that's what the new U.S.         ·7· · · · · ·A· · · Yes.
·8· ·revenue was the basis for the pricing from          ·8· · · · · ·Q· · · And the reason Chubb rejected
·9· ·FICO's perspective?                                 ·9· ·this offer is -- well, I will ask it a
10· · · · · ·A· · · Correct.                             10· ·different way.
11· · · · · ·Q· · · And Chubb rejected this offer,       11· · · · · · · · · Was the reason Chubb rejected
12· ·correct?                                            12· ·this offer because FICO bases its licensing
13· · · · · ·A· · · Yes.                                 13· ·figures on company revenue?
14· · · · · ·Q· · · And why was that?                    14· · · · · ·A· · · No.
15· · · · · · · · · MR. FLEMING:· I'm going to object    15· · · · · ·Q· · · So the problem with this offer
16· · · · · ·to the extent it requires disclosure of     16· ·wasn't -- wasn't FICO's pricing models, it was
17· · · · · ·its attorney-client communications.         17· ·instead the history between the parties and
18· · · · · · · · · On the basis of privilege you        18· ·because Chubb thought it had already had a
19· · · · · ·should not disclose those.                  19· ·license, right?
20· · · · · ·A· · · Can you ask your question again?     20· · · · · · · · · MR. FLEMING:· Objection, multiple
21· · · · · ·Q· · · Sure.                                21· · · · · ·questions and misstates her prior
22· · · · · · · · · Why did Chubb reject this offer?     22· · · · · ·testimony.

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·1· · · · · ·A· · · Because once again, senior        ·1· · · · · ·A· · · No, there was -- we still had an
·2· ·leadership felt that this was -- this license       ·2· ·issue with this pricing model.
·3· ·fee was still extremely high in comparison to       ·3· · · · · ·Q· · · Chubb had a problem with the
·4· ·the investment already made with FICO.              ·4· ·ultimate price, not necessarily the model,
·5· · · · · ·Q· · · Did you believe that -- well,        ·5· ·correct?
·6· ·Chubb's position in these business                  ·6· · · · · · · · · MR. FLEMING:· Objection, that's
·7· ·negotiations, it was not that -- Chubb didn't       ·7· · · · · ·been asked and answered.
·8· ·think it needed to pay a new license fee at         ·8· · · · · ·A· · · No, we had a problem with the
·9· ·all, did it?                                        ·9· ·model as well.
10· · · · · · · · · MR. FLEMING:· I object to the        10· · · · · ·Q· · · Can you tell me what the problem
11· · · · · ·extent it calls for attorney-client         11· ·with the model was?
12· · · · · ·communications, which you should not        12· · · · · · · · · MR. FLEMING:· I object to the
13· · · · · ·disclose on the basis of privilege.         13· · · · · ·extent it calls for attorney-client
14· · · · · ·A· · · No, we didn't.· We had a hard        14· · · · · ·privileged communications.
15· ·time with that.                                     15· · · · · ·A· · · If you take a look at the global
16· · · · · ·Q· · · So the issue wasn't -- the           16· ·revenue, it's $14 billion at an estimate of $11
17· ·problem from the business perspective from          17· ·billion for $2.4 million.
18· ·Chubb's point of view wasn't that FICO's            18· · · · · · · · · In 2016 it was 20, but yet we
19· ·pricing model was flawed, rather that Chubb         19· ·were asked to pay double if not triple what we
20· ·already had a license and shouldn't be forced       20· ·were paying from when we originally purchased.
21· ·to pay more, correct?                               21· · · · · · · · · So, the calculation of how they
22· · · · · · · · · MR. FLEMING:· I object, misstates    22· ·came to 20, that was not disclosed, just that


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·1· · · · · ·marked Exhibit 264 for identification, as ·1· · · · · ·A· · · I don't recall exactly what was
·2· · · · · ·of this date.)                               ·2· ·discussed, I just know it was a very short
·3· · · · · ·Q· · · Do you recognize this e-mail?         ·3· ·meeting.
·4· · · · · ·A· · · Yes.                                  ·4· · · · · ·Q· · · Why does that stand out in your
·5· · · · · ·Q· · · This e-mail mentions that you         ·5· ·mind, that it was a short meeting?
·6· ·need to be at a meeting with MarketStance,           ·6· · · · · ·A· · · Because Bill Harlam
·7· ·"who, like FICO is claiming because we are           ·7· ·traditionally didn't have short meetings.
·8· ·bigger we need to pay them more."                    ·8· · · · · ·Q· · · And so why was this meeting
·9· · · · · · · · · Do you recall, is that true?          ·9· ·short?
10· · · · · ·A· · · No, in the end we actually -- it      10· · · · · ·A· · · Because it was very succinct,
11· ·was my interpretation of what they were asking       11· ·the conversation, and to the point, and so
12· ·for, but it was not the correct interpretation.      12· ·there was not a lot to be discussed.
13· · · · · ·Q· · · What was MarketStance asking you      13· · · · · ·Q· · · I see in the third paragraph of
14· ·for?                                                 14· ·that Bill Waid had secured from FICO's CEO a 60
15· · · · · ·A· · · We were expanding our platform        15· ·percent discount on the Global Enterprise Blaze
16· ·for what we do with MarketStance from a              16· ·Advisor plus Global Enterprise Model
17· ·marketing perspective, and so we were actually       17· ·Translator.
18· ·making the request.                                  18· · · · · · · · · Do I understand that that
19· · · · · ·Q· · · Was it your understanding that        19· ·discount wasn't high enough, wasn't what Chubb
20· ·the dispute with FICO in 2016 from Chubb's           20· ·was looking for?
21· ·point of view was that FICO was saying that          21· · · · · ·A· · · At that particular time Chubb
22· ·because Chubb was bigger, Chubb needed to pay        22· ·was not entertaining moving forward with the

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·1· ·FICO more?                                           ·1· ·Global Enterprise Model Translator.
·2· · · · · ·A· · · That was my interpretation.           ·2· · · · · ·Q· · · And why was that, if you recall?
·3· · · · · ·Q· · · Did Bill respond to this e-mail?      ·3· · · · · · · · · MR. FLEMING:· I object to the
·4· · · · · ·A· · · Yes, he just said yes, you can        ·4· · · · · ·extent it calls for attorney-client
·5· ·dial in.                                             ·5· · · · · ·communications on privilege grounds.
·6· · · · · ·Q· · · I am handing you what has been        ·6· · · · · ·A· · · Because of the letters, because
·7· ·marked as Exhibit 265.                               ·7· ·of the -- of where we were in negotiations, we
·8· · · · · · · · · (The above described document was     ·8· ·weren't going to be expanding use of any FICO
·9· · · · · ·marked Exhibit 265 for identification as     ·9· ·products.
10· · · · · ·of this date.)                               10· · · · · ·Q· · · So it was because of the
11· · · · · ·Q· · · Do you recall receiving this          11· ·dispute, not the underlying technology?
12· ·e-mail?                                              12· · · · · ·A· · · Correct.
13· · · · · ·A· · · Yes.                                  13· · · · · ·Q· · · I am handing you what has been
14· · · · · ·Q· · · The top of the e-mail, it             14· ·marked as Exhibit 266.
15· ·mentions the discussion that was to occur the        15· · · · · · · · · (The above described document was
16· ·morning after this e-mail on the 23rd of March,      16· · · · · ·marked Exhibit 266 for identification, as
17· ·2016.                                                17· · · · · ·of this date.)
18· · · · · · · · · Did you have that discussion          18· · · · · ·Q· · · Are you familiar with this
19· ·with FICO?                                           19· ·e-mail and its attachment?
20· · · · · ·A· · · Yes.                                  20· · · · · ·A· · · I am.
21· · · · · ·Q· · · Do you recall what was discussed      21· · · · · ·Q· · · Can you tell me what it is?
22· ·in that March 23 meeting?                            22· · · · · ·A· · · This is Mike coming back to us


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·1· ·and saying based upon the note below from Bill,      ·1· ·that happened afterwards, but I wasn't privy to
·2· ·this is the best and final offer that FICO will      ·2· ·them -- I wasn't on the call.
·3· ·put on the table and entertain.                      ·3· · · · · · · · · I was privy to them, but I was
·4· · · · · ·Q· · · And this offer was rejected,          ·4· ·not on the calls.
·5· ·correct?                                             ·5· · · · · ·Q· · · You mentioned you were privy to
·6· · · · · ·A· · · Yes.                                  ·6· ·them.· What do you recall hearing about those
·7· · · · · ·Q· · · And why was that?                     ·7· ·discussions?
·8· · · · · · · · · MR. FLEMING:· Objection to the        ·8· · · · · ·A· · · That it was between the CIO and
·9· · · · · ·extent it calls for attorney-client          ·9· ·somebody at FICO.
10· · · · · ·privileged communications.                   10· · · · · ·Q· · · ·Handing you what has been
11· · · · · ·A· · · Because once again, it was not        11· ·marked as Exhibit 2667.
12· ·what Chubb expected to pay for the license; it       12· · · · · · · · · (The above described document was
13· ·was too high.                                        13· · · · · ·marked Exhibit 267 for identification as
14· · · · · ·Q· · · And it was too high based on the      14· · · · · ·of this date.)
15· ·history between the parties, is that correct?        15· · · · · ·Q· · · Do you recall receiving this
16· · · · · ·A· · · That is correct.                      16· ·e-mail?
17· · · · · ·Q· · · So if you were looking at these       17· · · · · ·A· · · Yes.
18· ·prices, pretend there had been no relationship       18· · · · · ·Q· · · And did you review the
19· ·between the parties, ever, and this was the          19· ·attachment to the e-mail?
20· ·very first negotiation, you wouldn't have had        20· · · · · ·A· · · Yes.
21· ·the same reaction, correct?                          21· · · · · ·Q· · · Can you explain to me what the
22· · · · · · · · · MR. FLEMING:· Objection,              22· ·purpose of this e-mail and its attachment were?

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·1· · · · · ·hypothetical, calls for speculation,     ·1· · · · · ·A· · · So, stated prior, this was the
·2· · · · · ·incomplete foundation.                       ·2· ·document by which there was the ACE
·3· · · · · ·Q· · · No answer?· You can answer.           ·3· ·applications and the Chubb applications.
·4· · · · · ·A· · · Based upon other -- my history,       ·4· · · · · · · · · And then what was targeted for
·5· ·and what I've been doing with software               ·5· ·what was called rationalization at the time,
·6· ·licensing, and with what we have paid for other      ·6· ·but what was our end result going to look like.
·7· ·tools, I would still have a problem with that        ·7· · · · · ·Q· · · Meaning what was going to be
·8· ·number.                                              ·8· ·combined at the end of the day with the new
·9· · · · · ·Q· · · Meaning you thought it was too        ·9· ·company?
10· ·high?                                                10· · · · · ·A· · · What we were going to continue
11· · · · · ·A· · · Yes.                                  11· ·to use; not necessarily the combined, but what
12· · · · · ·Q· · · But in this negotiation you           12· ·we were going to utilize.
13· ·thought it was too high because -- because of        13· · · · · ·Q· · · Then I see under the rating
14· ·the history between the parties?                     14· ·rules row, it mentions FICO Blaze Advisor under
15· · · · · · · · · MR. FLEMING:· Objection,              15· ·the Chubb column.
16· · · · · ·misstates your prior testimony.              16· · · · · · · · · Do you see that as well?
17· · · · · ·A· · · Because it -- yes, because it         17· · · · · ·A· · · I do.
18· ·does -- there is history there.                      18· · · · · ·Q· · · And then what does the
19· · · · · ·Q· · · And Chubb's counter to the offer      19· ·information in the target column reflect?
20· ·in Exhibit 266 is in Exhibit 263, the March          20· · · · · ·A· · · That means that we hadn't made a
21· ·25th, 2016 e-mail, correct?                          21· ·decision, it was TBD.· We were either going to
22· · · · · ·A· · · No, there were other discussions      22· ·be ODM or FICO.


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·1· ·believe.                                             ·1· ·wanted to make sure that we were putting FICO
·2· · · · · · · · · I don't recall who the -- one of      ·2· ·in correctly, so, the assessment and
·3· ·the salesmen.                                        ·3· ·installation.
·4· · · · · ·Q· · · Is it Russ Schreiber?                 ·4· · · · · ·Q· · · And what was your understanding
·5· · · · · ·A· · · Yes.                                  ·5· ·as to what they installed?
·6· · · · · ·Q· · · Did you have any discussions          ·6· · · · · ·A· · · It was clear that was -- it was
·7· ·with Russ Schreiber as to whether use of Blaze       ·7· ·the Blaze Advisor product.
·8· ·by Chubb in the United Kingdom was permissible       ·8· · · · · ·Q· · · Where was it installed?
·9· ·under the agreement?                                 ·9· · · · · ·A· · · In the U.K. data center on, I
10· · · · · ·A· · · No, because I wouldn't have           10· ·believe our mainframe in the U.K.
11· ·thought they would send consultants there if it      11· · · · · ·Q· · · At any point during that process
12· ·was not permissible.                                 12· ·did anybody from FICO suggest that the use or
13· · · · · ·Q· · · So if you just walk through the       13· ·installation of Blaze in the United Kingdom was
14· ·process of why there was a statement of work         14· ·outside the scope of the sales force license
15· ·and how that was proposed, just the timeline.        15· ·agreement?
16· · · · · ·A· · · So, what will happen is we will       16· · · · · ·A· · · No.
17· ·get a request from the business asking us if --      17· · · · · · · · · MR. FLEMING:· Okay, I have no
18· ·to put together the SOW.                             18· · · · · ·further questions.
19· · · · · · · · · I would contact FICO to arrange       19
20· ·that, and it is practice at Chubb that the           20· ·CONTINUED EXAMINATION BY
21· ·business also contacts FICO to go over what          21· ·MS. KLIEBENSTEIN:
22· ·their requirements are so the two of them can        22

                                               Page 235                                                Page 237
·1· ·agree.                                               ·1· · · · · ·Q· · · So the event you were just
·2· · · · · · · · · I'm on some of those calls and        ·2· ·talking about, when did this occur?
·3· ·not on some of those calls.                          ·3· · · · · ·A· · · 2011, yes, 2011 or 2012; I
·4· · · · · · · · · Then what we do is we take what       ·4· ·believe it was 2011.
·5· ·has been agreed and put it into a statement of       ·5· · · · · ·Q· · · Were you in the United
·6· ·work and ensure that statement of work is            ·6· ·Kingdom --
·7· ·correct, including what's going to be delivered      ·7· · · · · ·A· · · No.
·8· ·and the deliverables, and from there it gets         ·8· · · · · ·Q· · · -- when the work was being done?
·9· ·signed.                                              ·9· · · · · ·A· · · No.
10· · · · · ·Q· · · And then what happens next?           10· · · · · ·Q· · · So when you are talking about
11· · · · · ·A· · · Then the SOW goes to the              11· ·the installation and the assessment, you
12· ·business partner for them to work on, so they        12· ·weren't personally there?
13· ·contact FICO and the consultants go to wherever      13· · · · · ·A· · · No, that was managed by the
14· ·they need to go.                                     14· ·business.
15· · · · · ·Q· · · And did you understand that two       15· · · · · ·Q· · · And how did you come across that
16· ·FICO representatives went to London?                 16· ·knowledge?
17· · · · · ·A· · · Yes, that was outlined in the         17· · · · · ·A· · · In the statement of work that
18· ·SOW.                                                 18· ·was signed off by two -- by both companies as
19· · · · · ·Q· · · And what was your understanding       19· ·to what was going to be delivered, and then
20· ·of what did they do in London?                       20· ·before payment, I validated that it happened.
21· · · · · ·A· · · They were the architects that         21· · · · · ·Q· · · So these were tasks that were
22· ·helped with the assessment, and then also we         22· ·outlined in the statement of work?


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·1· · · · · ·A· · · Correct.                              ·1· ·involve?
·2· · · · · ·Q· · · A written statement of work?          ·2· · · · · ·A· · · This one was a CPI print
·3· · · · · ·A· · · Yes.                                  ·3· ·application.
·4· · · · · ·Q· · · Do you know if that statement of      ·4· · · · · ·Q· · · That's the name for it?
·5· ·work has been produced in this lawsuit?              ·5· · · · · ·A· · · Yes, I believe that was -- I
·6· · · · · ·A· · · I don't know.                         ·6· ·knew it had to do something with print.
·7· · · · · · · · · I know it wasn't one of the ones      ·7· · · · · ·Q· · · Do you know one way or the other
·8· ·that you have shown me.                              ·8· ·whether Blaze Advisor was installed on servers
·9· · · · · ·Q· · · Did anyone from Chubb & Sons          ·9· ·in the United Kingdom pursuant to this
10· ·check with legal to make sure that what was          10· ·statement of work?
11· ·going to happen -- well, was the SOW Chubb &         11· · · · · ·A· · · Yes.
12· ·Sons' standard SOW?                                  12· · · · · · · · · Yes, it was installed, because
13· · · · · ·A· · · It was.                               13· ·they gave me validation when we were paying the
14· · · · · ·Q· · · So it wouldn't have gone to           14· ·invoice.
15· ·Chubb & Sons' legal?                                 15· · · · · ·Q· · · What was that validation?
16· · · · · ·A· · · That's correct.                       16· · · · · ·A· · · That the deliverables outlined
17· · · · · ·Q· · · Do you know whether it went           17· ·in that SOW were completed.
18· ·through FICO's legal department?                     18· · · · · ·Q· · · Who gave that you validation?
19· · · · · ·A· · · I do not know.                        19· · · · · ·A· · · The project manager.
20· · · · · ·Q· · · Do you know if Mr. Schreiber          20· · · · · ·Q· · · And who is the project manager?
21· ·checked with FICO legal?                             21· · · · · ·A· · · I don't remember.
22· · · · · ·A· · · I do not, no.                         22· · · · · · · · · MS. KLIEBENSTEIN:· All right, I

                                             Page 239                                                    Page 241
·1· · · · · ·Q· · · You mentioned briefly you don't   ·1· ·don't have any further questions.
·2· ·recall any discussions with respect to this          ·2· · · · · MR. FLEMING:· Nothing further.
·3· ·statement of work as to whether it was okay          ·3· ·We will read and sign.
·4· ·under the agreement, correct?                        ·4· · · · · THE VIDEOGRAPHER:· The time is
·5· · · · · ·A· · · Yeah, I don't recall.                 ·5· ·3:58 p.m. and we are going off the
·6· · · · · ·Q· · · But there weren't -- you don't        ·6· ·record.
·7· ·recall discussions one way or the other,             ·7
·8· ·whether this was or was not okay?                    ·8
·9· · · · · ·A· · · That's correct, I don't recall.       ·9
10· · · · · ·Q· · · And so what was your role with        10
11· ·respect to this statement of work?                   11
12· · · · · ·A· · · I helped to draft it on to the        12
13· ·template and work it through the process that        13
14· ·we have outlined, that I have outlined a couple      14
15· ·of times already.                                    15
16· · · · · · · · · So, getting it through to             16
17· ·signature, making sure everybody was agreed          17
18· ·with what the business terms were in the SOW,        18
19· ·agree with the pricing, and got a final              19
20· ·signature approval for it.                           20
21· · · · · ·Q· · · And what application -- what          21
22· ·software application did the statement of work       22


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